CLERK, U. S. DISTRICT COURT
UNITED STATES DISTRICT COURT _ MIDDLE DISTRICT OF FLORIDA

MIDDLE DISTRICT OF FLORIDA ~ JACKSONVILLE, FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

Vv. CASE NO. 3:20-cr-65(S1)-J-32PDB
18 U.S.C. § 2422(b)
TRAVIS RYAN PRITCHARD 18 U.S.C. § 2251 (a)

18 U.S.C. § 2252(a)(4)

SUPERSEDING INDICTMENT
The Grand Jury charges:
COUNT ONE
From in or about December 2019, and continuing through April 27, 2020, in
the Middle District of Florida, and elsewhere, the defendant, |
TRAVIS RYAN PRITCHARD,
using a facility and means of interstate commerce, did knowingly persuade, induce,
entice, and coerce an individual who had not attained the age of 18 years, to engage in
sexual activity for which any person could be charged with a criminal offense,
specifically, under the laws of the state of Florida, the crime of lewd or lascivious battery

upon a person less than 16 years of age, in violation of Section 800.04(4)(a)(1), Florida

Statutes.

In violation of 18 U.S.C. § 2422(b).
COUNT TWO
From on or about April 27, 2020, and continuing through May 2, 2020, in the
Middle District of Florida, and elsewhere, the defendant,
TRAVIS RYAN PRITCHARD,

using a facility and means of interstate commerce, did knowingly persuade, induce,
entice, and coerce an individual who the defendant believed had not attained the age of
18 years, to engage in sexual activity for which any person could be charged with a
criminal offense, specifically, under the laws of the state of Florida, that is, the crime of
lewd or lascivious battery upon a person less than 16 years of age, in violation of Section
800.04(4)(a)(1), Florida Statutes.

In violation of 18 U.S.C. § 2422(b).

COUNT THREE

On or about April 10, 2020, in the Middle District of Florida, and elsewhere,

the defendant,
TRAVIS RYAN PRITCHARD,

did employ, use, persuade, induce, entice, and coerce a minor to engage in any
sexually explicit conduct for the purpose of producing a visual depiction of such
conduct, knowing and having reason to know that such visual depiction would be
transported and transmitted using any means and facility of interstate and foreign
commerce, and the visual depiction was produced and transmitted using materials that

had been mailed, shipped, and transported in and affecting interstate and foreign
commerce by any means, including by computer, and had the file name
“Screenshot_20200410-011848 Video Player.jpg.”

In violation of 18 U.S.C. § 2251(a) and (e).

COUNT FOUR

On or about April 10, 2020, in the Middle District of Florida, and elsewhere,

the defendant,
TRAVIS RYAN PRITCHARD,

did employ, use, persuade, induce, entice, and coerce a minor to engage in any
sexually explicit conduct for the purpose of producing a visual depiction of such
conduct, knowing and having reason to know that such visual depiction would be
transported and transmitted using any means and facility of interstate and foreign
commerce, and the visual depiction was produced and transmitted using materials that
had been mailed, shipped, and transported in and affecting interstate and foreign
commerce by any means, including by computer, and had the file name *20200410-
011329_Video Player.jpg.”

In violation of 18 U.S.C. § 2251(a) and (e).

COUNT FIVE
On or about May 2, 2020, in the Middle District of Florida, and elsewhere, the

defendant,
TRAVIS RYAN PRITCHARD,

did knowingly possess a matter, that is, a Samsung Galaxy S9+ wireless telephone,
which contained a visual depiction that had been produced using materials that had
been shipped and transported in and affecting interstate and foreign commerce, by any
means including by computer, when the production of the visual depiction involved
the use of a minor engaging in sexually explicit conduct and the visual depiction was
of such conduct, and the depiction involved a prepubescent minor who had not
attained 12 years of age.

In violation of 18 U.S.C. § 2252(a)(4)(B) and (b)(2).

FORFEITURE

1. The allegations contained in Counts One through Five of this
Superseding Indictment are hereby realleged and incorporated by reference for the
purpose of alleging forfeitures pursuant to the provision of 18 U.S.C. § 2428 and 18
U.S.C. § 2253.

2. Upon conviction of a violation of 18 U.S.C. § 2422, the defendant,
TRAVIS RYAN PRITCHARD, shall forfeit‘to the United States, pursuant to 18
U.S.C. § 2428, any property, real or personal, that was used or intended to be used to
commit or to facilitate the commission of the offense and any property, real or
personal, constituting or derived from any proceeds obtained, directly or indirectly, as
a result of the offense.

3. Upon conviction of a violation of 18 U.S.C. § 2251(a) and 2252(a), the
defendant, TRAVIS RYAN PRITCHARD, shall forfeit to the United States, pursuant

to 18 U.S.C. § 2253:
a. Any visual depiction described in 18 U.S.C. §§ 2251, 225 1A, or 2252,
2252A, 2252B, or 2260 of chapter 110 of Title 18, or any book, magazine, periodical,
film, videotape, or other matter which contains any such visual depiction, which was
produced, transported, mailed, shipped, or received in violation of chapter 110;

b. Any property, real or personal, constituting or traceable to gross
profits or other proceeds obtained from such offense; and

c. Any property, real or personal, used or intended to be used to commit
or to promote the commission of such offense or any property traceable to such
property.

4. The property to be forfeited includes, but is not limited to, a black and

blue Samsung Galaxy cellular telephone with sim card.

5. If any of the property described above, as a result of any act or omission
of the defendant:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;.

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be
divided without difficulty,

the United States of America shall be entitled to forfeiture of substitute property
pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c) and 18 U.S.C.

   

 

 

§ 2253(b).
A TRUE BILL,
F rey
MARIA CHAPA LOPEZ
United States Attorney

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Kelly S. Karhse
Assistant United States Attorney

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~Frank M. Talbot
Assistant United States Attorney
Chief, Jacksonville Division

 
FORM OBD-34
8/14/20 Revised No.

 

UNITED STATES DISTRICT COURT
Middle District of Florida
Jacksonville Division

THE UNITED STATES OF AMERICA
vs.

TRAVIS RYAN PRITCHARD

 

INDICTMENT

Violations: Cts. 1-2: 18U.S.C. § 2422(b)
Cts. 3-4: 18U.S.C. § 2251i(a)
Ct. 3: 18 U.S.C. § 2252(a)(4)

 

 

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Foreperson
Filed in open court this \4th day

of August, 2020.

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